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1                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
2                                    EASTERN DIVISION

3        MONSTER ENERGY COMPANY,                    )   Docket No. 19 C 00551
                                                    )
4                           Plaintiff,              )   Chicago, Illinois
                                                    )   February 14, 2019
5                    v.                             )   9:37 a.m.
                                                    )
6        THE PARTNERSHIPS,                          )
                                                    )
7                           Defendants.             )

8
                           TRANSCRIPT OF PROCEEDINGS - Status
9                         BEFORE THE HONORABLE JORGE L. ALONSO

10
         APPEARANCES:
11

12       For the Plaintiff:        GREER, BURNS & CRAIN, LTD., by
                                   MR. JUSTIN R. GAUDIO
13                                 300 South Wacker Drive
                                   Suite 2500
14                                 Chicago, IL 60606

15
         For the Defendant Vaporever Biotechnology:
16
                                   ABC PATENT SERVICE, LLC, by
17                                 MR. FRANK GAO
                                   1261 21st Street
18                                 Wilmette, IL 60091

19

20       Court Reporter:           LISA H. BREITER, CSR, RMR, CRR
                                   Official Court Reporter
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23

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1             (In open court.)

2                   THE COURT:     Let's call Monsters.

3                   THE CLERK:     19 C 551, Monsters Energy vs.

4        Partnerships.

5                   MR. GAUDIO:      Good Morning, Your Honor.         Justin Gaudio

6        for plaintiff.

7                   MR. GAO:     Good Morning, Your Honor.         I represent

8        Vaporever Biotechnology, Huizhou, China.

9                   THE COURT:     I'm sorry, sir, one more time.

10                  MR. GAO:     This is Frank Gao, patent lawyer working for

11       ABC Patent Service.

12                  THE COURT:     All right.      Counsel, give me your name one

13       more time.     You have not filed an appearance in the case.

14                  MR. GAO:     Yes.   I called yesterday.        I do not know

15       which, you know, number in defendant, so I did not file the

16       appearance.     I called plaintiff law firm, didn't got any number

17       for the defendant.       I know plaintiff filed -- filed also

18       against bunch of defendants.

19                  THE COURT:     That's correct.       Mr. Gaudio, why don't we

20       start with you, sir.

21                  MR. GAUDIO:      Yes, Your Honor.      Today we're here

22       seeking to extend the temporary restraining order.                Some of the

23       third parties have complied, notably Paypal.              We're still

24       waiting on others, wish.com and Alipay, to comply, which is the

25       reason for the extension.
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1                   Mr. Gao did reach out yesterday.           We provided him --

2        to us, to counsel.       We provided him with screenshots and other

3        evidence regarding his defendant and asked for information

4        regarding sales and the extent of their activity.               This

5        defendant is particularly troubling in that our client sent

6        them a cease and desist letter in May of 2018.

7                   From Chinese counsel, they said that they would stop

8        and that they had no money.         They didn't stop, and it turns out

9        they do have some money.         Over $2 million has flown through

10       that Paypal account.        About 73,000 is restrained is what we

11       know at this point.       So we believe the extension remains proper

12       with respect to all defendants including this one and ask that

13       the Court extend it for 14 days.

14                  THE COURT:     Okay.    And what is your position regarding

15       the physical appearance of counsel here today?

16                  MR. GAUDIO:      The TRO extension should just still be

17       entered.    There's no evidence to contradict what's in our

18       papers that have already been submitted with sworn declarations

19       as well as my representations to the Court today for this

20       particular defendant.

21                  THE COURT:     Counsel is saying that he can't file an

22       appearance in the case because he doesn't know which

23       defendant -- he can't file his appearance because he doesn't

24       know the number of the defendant in the case.

25                  Have you provided him with information regarding the
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1        specific defendants in the case?

2                   MR. GAUDIO:      Schedule A is still sealed since third

3        parties are effectuating it, but we can provide him the number

4        of his defendant later today.          He could also file an appearance

5        using the name of the company, which is how they're listed in

6        Schedule A.     But we will let him know what number they appear

7        as in Schedule A.

8                   THE COURT:     All right.      So I'll direct you to do that

9        today.

10                  And Counsel, you have not filed your appearance.                This

11       is an ex parte order.        I am going to grant the order, but

12       before I do that, anything regarding the order that's before me

13       today?    It's an order seeking an extension of the temporary

14       restraining order that I entered previously.              I entered it on

15       January 31st of this year.

16                  MR. GAO:     Your Honor, I -- you know, it's -- my client

17       doesn't want have extension.          And he never -- you know, he

18       offer it's like mom and pop store, didn't have enough

19       resources.     And also he sells electronic cigarette flavoring,

20       not drink.     And his use of Monster, Inc., Energy -- Monster

21       Energy just fair use.

22                  I -- I ask Court to not grant plaintiff's extension of

23       TRO.   You know, it's better not grant any TRO.              Basically my

24       client is doing a lot of business of selling flavors, not

25       drink, and his use is just fair use.            And I think plaintiff
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1        made a mistake on our defendant.           We have not infringed any

2        trademark, his client's trademark.           It's just fair use.           He

3        should not have any extension, should not have any TRO, and

4        it's unfair to my client.

5                   And my client called me yesterday.            I did not know any

6        previous cease and desist letter.           I did not know.       But he told

7        me he has Paypal account 70,000, and he want to do business

8        selling e-cigarette flavoring, not Monster Energy drink.                   He

9        has nothing to do with Monster Energy drink.              He's not in

10       business selling any drink.

11                  You know, another thing is I do not think plaintiff is

12       likely going to be success on the merits.             There is adequate --

13       adequate remedy at law exists, irreparable harm.               There is no

14       irreparable harm if the injunction granted.              I'm asking Court

15       just dismiss our -- my defendant.

16                  Also, I want to file oral motion for severance.

17       Basically I know plaintiff has lot of investigators.                He bought

18       a -- he went to different website, purchased some different

19       products thinking they're in violation of his client -- client

20       Monster Energy drink, but they are not from the same

21       transactions, I'm pretty sure.          They all from different

22       transactions.      Different time, different date, different

23       investigators.

24                  So I ask Court to sever all the defendants to

25       individual lawsuits so we can deal with individually.
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1                   THE COURT:     Mr. Gaudio, regarding the flavoring versus

2        drink argument?

3                   MR. GAUDIO:      Your Honor, our client has trademark

4        coverage that counters that, which would cause a likelihood of

5        confusion that this is affiliated or sponsored by our client.

6        And I have an image of the product I'd like to hand up.

7             (Document tendered to the Court.)

8                   MR. GAUDIO:      Our counsel also has a copyright

9        registration on the claw identical to the one shown on the

10       bottle.    So either way, whether it's under trademark or

11       copyright, this is a clear violation of our client's rights,

12       selling a vape juice that is using our client's name and

13       trademark and copyright.

14                  THE COURT:     All right.      I am going to grant the

15       motion.    It's appropriate to do so, and it's appropriate to do

16       so in ex parte fashion.

17                  Counsel, your oral motions are going to be denied at

18       this point without prejudice.          You have not filed your

19       appearance yet.      You haven't filed any motion yet.

20                  This motion's going to be granted.            Mr. Gaudio's going

21       to share with you information regarding the number of the

22       defendant so that you can file your appearance and any other

23       motion that you feel is appropriate, and then I will rule on

24       those motions.      We'll hear from both sides, and then I'll rule,

25       okay?
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1                   The TRO is extended upon a showing of good cause based

2        upon the failure of those third parties to comply with the TRO.

3        It is extended for 14 days until 2-28, February 28th.                 I won't

4        set any other court dates at this point.

5                   And that bond is still in place, Mr. Gaudio?

6                   MR. GAUDIO:      That's correct.

7                   THE COURT:     All right.      Thank you.     I'll hand back the

8        document to you.

9             (Document tendered to counsel.)

10                  MR. GAUDIO:      Your Honor, looking ahead, we've been

11       down this road a number of times before.             And what tends to

12       happen is the night before hearing, something will get filed

13       objecting, and that includes declarations usually with just

14       conclusory statements.

15                  So we would ask for some kind of schedule over the

16       next 14 days for either expedited discovery regarding anything

17       that the defendant plans to use in contesting the preliminary

18       injunction or that a brief be filed by a certain date so that

19       we have time to review it and respond to it prior to the 14-day

20       deadline.

21                  THE COURT:     Counsel?

22                  MR. GAO:     You know, I still need time to talk my

23       client.    You know, you know, daytime right now is their

24       nighttime.     It's hard to get him.

25                  You know, again, it's really prejudicial to my client
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1        to set out 14 days.       And, you know, my client told me --

2                   THE COURT:     All right.      The extension was over your

3        objection, sir.      I will note that you have not filed an

4        appearance.     If you don't file an appearance, I won't consider

5        anything that is filed.

6                   Obviously if there's no appearance filed, then I won't

7        hear from you next time if we're in the same situation.                    If you

8        haven't filed an appearance and you haven't filed anything

9        else, you won't be heard by the Court.

10                  MR. GAO:     Sorry, Your Honor.

11                  THE COURT:     The extension today was over your

12       objection.     That's clear.

13                  MR. GAO:     Okay.

14                  THE COURT:     I'm not going to enter any other orders

15       today, okay?     Thank you.

16                  MR. GAUDIO:      Thank you.

17            (Concluded at 9:48 a.m.)

18                                   * * * * * * * * * *

19                                 C E R T I F I C A T E

20            I certify that the foregoing is a correct transcript of the

21       record of proceedings in the above-entitled matter.

22

23       /s/ LISA H. BREITER__________________                   February 18, 2018
         LISA H. BREITER, CSR, RMR, CRR
24       Official Court Reporter

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